      Case 1:21-cv-03013-SAB     ECF No. 128    filed 09/13/22       PageID.1976 Page 1 of 3




 1
                                        THE HONORABLE STANLEY A. BASTIAN
 2
     Catharine Morisset, WSBA #29682
 3   Suzanne K. Michael, WSBA #14072
     Clarence Belnavis, WSBA #36681
 4   FISHER PHILLIPS LLP
     1700 7th AVENUE, SUITE 2200
 5   Seattle, WA 98101
     Tel: 206-682-2308
 6   Attorneys for Defendant

 7

 8
                          UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF WASHINGTON
                                   AT YAKIMA
10
     DEMETRIOS VORGIAS,
11                                                 NO. 1:21-cv-03013-SAB
                               Plaintiff,
12           vs.

13                                                 JOINT NOTICE OF
     COMMUNITY HEALTH OF                           SETTLEMENT
     CENTRAL WASHINGTON,
14
                               Defendant.
                                                   Trial Date: 9/14/2022
15

16           Plaintiff Demetrios Vorgias and Defendant Community Health of Central

17 Washington, through their counsel of record, hereby provide notice to the Court

18 that they have reached a tentative settlement to resolve all of the claims in this

19 matter. The parties request that the court strike the trial set for September 14, 2022.

20
                                                         FISHER & PHILLIPS LLP
      NOTICE OF JOINT SETTLEMENT                       1700 SEVENTH AVENUE, SUITE 2200
      1:21-cv-03013-SAB - 1                                      SEATTLE, WA 98101
                                                       Tel: (206) 682-2308 | Fax: (206) 682-7908

     FP 45195352.1
      Case 1:21-cv-03013-SAB     ECF No. 128   filed 09/13/22       PageID.1977 Page 2 of 3




1 The parties further anticipate requesting formal dismissal of this matter within the

2 next 45 days.

3            Respectfully submitted this 13th day of September, 2022.
4     FISHER PHILLIPS LLP                   LARSON | GRIFFEE | PICKETT, PLLC
5     By: s/ Catharine M. Morisset          By: s/ William D. Picket (with permission)
      Catharine M. Morisset WSBA            William D. Pickett, WSBA #27867
6     #29682                                105 N. Third Street
                                            Yakima, Washington 98901
      1700 7th Avenue, Suite 2200           Tel: 509-972-1825
7     Seattle, WA 98101                     bill@lgplawfirm.com
      Phone: (206) 682-2308                 Attorney for Plaintiff
8     Fax: (206) 682-7908
      cmorisset@fisherphillips.com
9     Attorneys for Defendant
10

11

12

13

14

15

16

17

18

19

20
                                                        FISHER & PHILLIPS LLP
      NOTICE OF JOINT SETTLEMENT                      1700 SEVENTH AVENUE, SUITE 2200
      1:21-cv-03013-SAB - 2                                     SEATTLE, WA 98101
                                                      Tel: (206) 682-2308 | Fax: (206) 682-7908

     FP 45195352.1
      Case 1:21-cv-03013-SAB       ECF No. 128    filed 09/13/22       PageID.1978 Page 3 of 3




1                               CERTIFICATE OF SERVICE
2            I hereby certify that on the date below written, I electronically filed the
     foregoing with the Clerk of the Court using the CM/ECF system and caused to be
3
     served a true and correct copy of same by the method indicated below and
4 addressed as follows:

5     Luan T. Le, pro hac vice
      Law Offices of Luan T. Le
6     1190 S Bascom Avenue, Suite 213
      San Jose, CA 95128
7     Email: ledowningllp@gmail.com

8     Seth W. Wiener, pro hac vice
      Law Offices of Seth W. Wiener
9     609 Karina Court
      San Ramon, CA 94582
10    Email: sethwiener@yahoo.com

11    William D. Pickett, WSBA #27867
      Larson Griffee & Pickett, PLLC
12    105 North 3rd Street
      Yakima, WA 98901
13    Phone: 509-972-1825
      Fax: 509-457-1027
14    Email: Bill@lgplawfirm.com

15    Attorneys for Plaintiff

16           I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct
17

18           Executed September 13, 2022, at Seattle, Washington.

19

20                                           Jazmine Matautia
                                                           FISHER & PHILLIPS LLP
      NOTICE OF JOINT SETTLEMENT                         1700 SEVENTH AVENUE, SUITE 2200
      1:21-cv-03013-SAB - 3                                        SEATTLE, WA 98101
                                                         Tel: (206) 682-2308 | Fax: (206) 682-7908

     FP 45195352.1
